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                   Case 1:19-cv-00423-MJT Document 1-3 Filed 09/13/19 Page 1 of 31 PageID #: 11
                                                                                                       DISTRICT CLERK OF
                                                                                                       JEFFERSON CO TEXAS
                                                                                                       8/20/2019 12:09 PM
                                                                                                       JAMIE SMITH
                                                        CAUSE NO.                                      DISTRICT CLERK
                                                                                                       E-204314
              GENE R. MESSER                                          §          IN THE DISTRICT COURT




              v.                                                                    JUDICIAL DISTRCT COURT




              PROPERTY AND CASUALTY
              INSURANCE COMPANY OF
              HARTFORD                                                S          JEFFERSON COUNTY, TEXAS

                                   PLAINTIFF'S ORIGINAL PETITION, DEMAND FOR JURY.
                                       AND WRITTEN DISCOVERY TO DEFENDANTS

              TO THE HONORABLE JUDGE OF SAID COURT:

                        NOW COMES, GENE R. MESSER hereinafter called "Plaintiff," complaining of PROPERTY

              AND CASUALTY INSURANCE COMPANY OF HARTFORD , hereinafter called "Defendant," and

              for cause of action would respectfully show unto the Court the following:

                                                                 I.
                                               PARTIES AND RULE 190 DISCOVERY LEVEL

                        Plaintiff is an individual residing in kfferson County, Texas. Discovery should be Level III.

                        Defendant, PROPERTY AND CASUALTY INSURANCE COMPANY OF HARTFORD is

              a Domestic corporation authorized to engage in the insurance business in the State of Texas, may be

              served by serving its attorney for service ofprocess, CT Corporation System, 1999 Bryan Street, Ste.

              900, Dallas, Texas 75201. Service is requested by certified mail, return receipt requested at this time.

                                                                          II.

                                                    AGENCY AND RESPONDEAT SUPERIOR

                        Whenever in this petition it is alleged that the Defendant(s) did any act or omission, it is meant

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            or omission, and it was done with the full authorization or ratification of Defendant(s) or done in the

            normal routine, course and scope of the agencyor employment of Defendant(s) or their agents, officers,

            servants, employees, or representatives.

                                                                            III.

                     This suit is brought pursuant to the law of good faith and fair dealing as well as under common

            law and Chapters 541 and 542 of the Texas Insurance Code and the Texas Deceptive Trade Practices

           Act. This suit is also brought for breach of contract, and for recovery under a policy of insurance.

           Plaintiff is a consumer of the Defendant(s), in that he purchased insurance from said entity and/or

           service to be provided by it. Said Defendant(s) is an "individual corporation, association, partnership,

           or other legal entity engaged in the business of insurance." Such Defendant(s) constitutes persons as

            that term is defined in Chapter 541.002 of the Texas Insurance Code.

                                                                            IV.

                     Defendant(s), PROPERTY AND CASUALTY INSURANCE COMPANY OF HARTFORD,

           are Plaintiff's homeowners' insurance company. The actions set forth in this complaint were

            committed by the Defendant(s), or its actual or apparent agents. Plaintiff owns and resides in a

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           Plaintiff under a Homeowners' policy, for such dwelling, personal property, and other matters under

            insurance policies described above. During the policy term of said policy, Plaintiff sustained covered

            losses in the form of storm damage, including but not limited to damage from wind and/or hail and

            damages resulting therefrom, and Plaintiff promptly and timely and properly reported same to

           Defendant(s) pursuant to the terms of the insurance policy. Plaintiff gave timely notice of the facts

           of loss and Defendant(s) assigned claim number Y93DP21904 for date of loss on or about 08/29/17.

                   Defendant PROPERTY AND CASUALTY INSURANCE COMPANY OF HARTFORD

           rissipliteATJAT$ITIM ci,1461E 6,c0 as the individual adjuster on the claim. Adjuster JUSTIN GRANATO
                Witness my Hand and Seal of Office

            0         September 11, 2019                                    2
                 JAMIE SMITH, DISTRICT CLERK
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                                          Page 2 of 13
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                   and those working at his direction conducted a substandard investigation which is evident in the estimate

                   provided and correspondence from Defendant(s) to Plaintiff. JUSTIN GRANATO and those at his

                   direction spent an inadequate amount of time at the subject residence, totaling approximately thirty

                   minutes. No attic inspection was performed and no testing for wind damage to shingle adhesive strips

                   or felt was conducted. As a result, it is evident from his report that he failed to include many of Plaintiff's

                   covered damages which would have been apparent upon proper inspection. Despite obvious storm

                   damage to various portions of the home, JUSTIN GRANATO improperly denied policy benefits by

                   minimizing scope and improperly denying causation. JUSTIN GRANATO misrepresented to Plaintiff

                   that such damage to the Property was not covered under the Policy, even though the damage was caused

                   by a covered occurrence.

                            JUSTIN GRANATO misrepresented the policy provision in correspondence to the insured in

                   order to misinform Plaintiff and reduce his understanding of his rights under the policy below what was

                   actually covered by the policy. Exclusionary language clearly inapplicable to the loss or claim was cited

                   by JUSTIN GRANATO in order to convince Plaintiff his loss was not covered in whole or in part, when

                   in fact it was a covered loss. As such, Defendants knowingly or recklessly made false representations,

                   as described, as to material facts and/ or knowingly concealed all or part of material information from

                   Plaintiff.

                                                                         V.

                             The Plaintiff's home sustained damages caused by the wind/hail peril, including damage to the

                    roof and architectural finishes. Damages include the cost of construction, repairs, and restoration of the

                   home, necessary to repair the damages to Plaintiff's residence. These constituted covered damages

                   under Plaintiff's homeowners' insurance policy with the Defendants, PROPERTY AND CASUALTY

                   INSURANCE COMPANY OF HARTFORD.


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                                                                    VI.

                         Defendants, PROPERTY AND CASUALTY INSURANCE COMPANY OF HARTFORD,

                 and its adjusters have had ample opportunity to inspect Plaintiff's property, in connection with

                 Plaintiff's claim for p ropertydamage. Defendants knew or should have known that Plaintiff had sustained

                 significant damage to the property, requiring significant repairs as a result of a loss and peril covered by

                 the insurance policies. PROPERTY AND CASUALTY INSURANCE COMPANY OF HARTFORD

                 was also made aware of the need to perform repairs to the damages to Plaintiff's home as a result of the

                 wind and/or hail storm. PROPERTY AND CASUALTY INSURANCE COMPANY OF

                 HARTFORD             knew that a substantial covered loss was owed. Nonetheless, PROPERTY AND

                 CASUALTY INSURANCE COMPANY OF HARTFORD                               denied, delayed, grossly underpaid,

                 and/or failed to properly investigate some or all of Plaintiff's covered losses with no reasonable basis.

                 PROPERTY AND CASUALTY INSURANCE COMPANY OF HARTFORD                                     have failed to act

                 promptly or to a good faith investigation. This is bad faith claim delay and/or denial and a violation of

                 Chapters 541 and 542 of the Texas Insurance Code. PROPERTY AND CASUALTY INSURANCE

                 COMPANY OF HARTFORD violated Article Chapters 541 and 542 of the Texas Insurance Code, and

                 is liable for the actual damages, statutory penalties and attorney's fees provided for therein.

                                                                    VII.

                         Despite the fact that all conditions precedent to Plaintiff's recovery have been performed or have

                 occurred, Defendants have failed and refused to pay the Plaintiff a just amount in accordance with

                 their contractual obligations, agreements, and representations. In fact, after such refusals to pay and

                 investigate, Plaintiff was forced to file suit to seek the policy benefits to which he is entitled.

                 PROPERTY AND CASUALTY INSURANCE COMPANY OF HARTFORD knew that substantial

                 damage had been caused by the loss, and yet refused to investigate most or all of such damages.

                    I CERTIFY THIS IS A TRUE COPY                   VIII.
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        Such denials, delays, refusals and/or failures to pay by PROPERTY AND CASUALTY

INSURANCE COMPANY OF HARTFORD was in bad faith, and constitute breaches of the covenant

of good faith and fair dealings, whichbreaches were a proximate cause of damages to the Plaintiff, more

specifically set forth herein below. There was no reasonable basis for denying, delaying, or failing to

pay or investigate Plaintiff's claims for damage, and PROPERTY AND CASUALTY INSURANCE

COMPANY OF HARTFORD knew or should have known that there was no such reasonable basis to

deny, delay, and fail to pay such claims. Defendant(s) conducted an outcome-oriented investigation

with the intent of either denying or underpaying the claim. The conduct of Defendants, PROPERTY

AND CASUALTY INSURANCE COMPANY OF HARTFORD were irresponsible, unconscionable,

and took advantage of the Plaintiff's lack of sophistication in insurance matters to a grossly unfair

degree. Furthermore, the conduct of Defendant(s), PROPERTY AND CASUALTY INSURANCE

COMPANY OF HARTFORD, amounts to one or more of the following:

        (a) not attempting in good faith to effectuate prompt, fair, and equitable settlements of claims
            submitted in which liability has become reasonably clear in violation of Chapter 542 of the
            Texas Insurance Code;

        (b) refusing to pay claims without conducting a reasonable investigation based upon all
            available information in violation of Chapter 541 of the Texas Insurance Code;

        (c)   failing to handle or process the Plaintiff's claims in good faith; in violation of common law
              as expressly stated by the Texas Supreme Court in Vail v. Texas Farm Bureau, 754 S.W.2d
              129 at 135 (Tex. 1988);

        (d)   committing a course of conduct that is unconscionable;

        (e)   omitting any information or making any false implication or impression that was either
              misleading or deceptive or had the capacity to be misleading or deceptive in violation of
              Chapter 541 of the Texas Insurance Code;

        (f) refusing to fully pay a claim without a reasonable basis in violation of commonlaw;

        (g) delayingfull payment of a claim without a reasonable basis in violation of common law;

        (h) denying and/or delaying payment of a claim in full without determining whether there is any
    CERTIFy wasialWEIN:54 to do so in violation of common law;
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    JAMIE SMITH, DISTRICT CLERK
     JEFFERSON COUNTY ,TEXAS
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                                (i) representing that goods or services have sponsorship, approval, characteristics, ingredients,
                                    uses, benefits, or quantities which they do not have or that a person has a sponsorship,
                                    approval, status, affiliation, or connection which they do not;

                                6) representing that goods or services are of a particular standard, quality, or grade, or that
                                   goods are of a particular style or model, if they are ofanother;

                                (k)   representing than an agreement confers or involves rights, remedies, or obligations which it
                                      does not have or involve, or which are prohibited by law;

                                (1) failing to disclose information concerning goods or services which was known at the time of
                                    the transaction if such failure to disclose such information was intended to induce the
                                    consumer into a transaction into which the consumer would not have entered had the
                                    information been disclosed; and

                                (m) violations of Chapter 541 of the Texas Insurance Code, in that they misrepresented the
                                    terms of the policy or other facts.

                                                                                                  IX.

                                As a result of all of such conduct, Plaintiff has been damaged in an amount in excess of the

                      minimum jurisdictional limits of this Court. In addition, the conduct of PROPERTY AND

                      CASUALTY INSURANCE COMPANY OF HARTFORD was committed knowingly, and under

                      circumstances constituting willful and wanton and reckless disregard of the rights of the Plaintiff and

                      others similarly situated. Such conduct of PROPERTY AND CASUALTY INSURANCE

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                      CASUALTY INSURANCE COMPANY OF HARTFORD constituted negligent misrepresentation

                      of fact, or actionable fraud. The conduct of PROPERTY AND CASUALTY INSURANCE

                      COMPANY OF HARTFORD proximately caused the injuries and damages to the Plaintiff for which he

                      sues.

                                                                                          X.

                                All of the conditions precedent to bringing this suit under the policy and to the Defendant(s)

                      liability to the Plaintiff under the policy for the claims alleged have been performed or have occurred.

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                                                      XI.

        Defendants have, by its conduct, breached their contract of insurance with the Plaintiff. Such

breach proximately caused damages to the Plaintiff including consequential damages. In addition,

Plaintiff is entitled to recover attorney's fees in connection with Plaintiff's contractual causes of action.

In addition, as a supplement to such contractual causes of action, each Defendant(s) is liable for the

statutory damages and penalties set out in Chapter 542 of the Texas InsuranceCode.

                                                     XII.

        Defendants owe the Plaintiff significant sums for known losses. Further, under the contract of

insurance, the Defendants owe the Plaintiff reasonable compensation for additional living expenses

because repairs to be performed to his residence and required by the above losses will require that they

incur living expenses over and above those normally incurred while residing in the home.

                                                     XIII.

        The conduct ofPROPERTY AND CASUALTY INSURANCE COMPANY OF HARTFORD

was knowing and therefore may be subject to liability for additional damages under the Texas

Insurance Code, and/or the Texas Deceptive Trade Practices Act, Plaintiff and Plaintiff's attorney are

also entitled +n attorney's fee,s in connection .1,141, the bringing of this action flor breach *of contract *or

under relevant statute. In the alternative, PROPERTY AND CASUALTY INSURANCE COMPANY

OF HARTFORD                conduct was malicious and fraudulent, and therefore, Plaintiff seeks punitive

damages.

                                                     XIV.

        All of the conditions precedent to bringing this suit under the policy and to the Defendant's

liability to the Plaintiff under the policy for the claims alleged have been performed or have occurred, or

compliance with said notice is excused, or rendered impractical due to the approaching statute of

timiwoogilstkiANAter3pleore than sixty days prior to the filing of this petition, written demand for
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    JAMIE SMITH, DISTRICT CLERK
     JEFFERSON COUNTY ,TEXAS
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                  payment and notice of complaint pursuant to the Texas Insurance Code, Chapter 541, et seq., was sent

                  to the Defendant(s) , or compliance with said notice is excused. All notices and proofs of loss were

                  timely and properly given in such manner as to fully comply with the terms and conditions of the

                  relevant insurance policies and applicable law. Plaintiff complied with all terms and conditions of the

                  policy, but his claim was nonetheless not paid in full. Such refusals topay waive anyfurther compliance

                  with saidpolicy by Plaintiffand leave himfree to suefor those benefits to which he is entitled that were

                  denied or underpaid. In the alternative, Plaintiff alleges that as to any such terms, conditions, notices, or

                  requirements, the Defendants waived them, the Defendants are estopped from asserting them, and/or

                  the Plaintiff substantially complied with them. P laintiff makes the same allegations of waiver or estoppel

                  as to every defense, condition, or exclusion pleaded by the Defendants, and as to each claim for breach

                  of contract or statutory violation as to said Defendants.

                                                                         XV.

                          As to any exclusion or endorsement relied upon by the Defendant(s), Plaintiff would show

                  that such is void and does not form a portion of Plaintiff's insurance policy with Defendant(s),

                  PROPERTY AND CASUALTY INSURANCE COMPANY OF HARTFORD. The reason this is so

                  ncudes, but is not lirnited to the following:

                          (a)       there is no consideration for such exclusion;

                          (b)       such exclusion or exclusionary endorsement was not delivered with the policy, and
                                    hence is of no force and effect;

                          (c)       such exclusion violates Chapters 541 and 542 of the Texas Insurance Code, and it is
                                    void as against public policy;

                          (d)       such exclusion and its use in this case violates Chapter 541 and 542 of the Texas
                                    Insurance Code and is void as against public policy;

                          (e)       such exclusion violates Chapter 541 and 542 of the Texas Insurance Code and is
                                    unconscionable, and is void as against public policy;

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                            (g)      any such exclusion is void as against public policy against creating a forfeiture, or ex
                                     post-facto penalty;

                            (h)      the attachment of such exclusion constitutes bad faith cancellation of a portion of the
                                     Plaintiff(s)' policy with Defendant(s) (s). In particular, such cancellation of a portion
                                     of Plaintiff(s)' coverage was in violation of the policy contract's own terms and also
                                     in violation of Chapter 541 and 542 of the Texas Insurance Code of the Texas
                                     Insurance Code. Such exclusion should be declared void, and of no force and effect,
                                     and the policy should be reformed to so reflect;

                            (i)       the clear and unambiguous language of the policy provides coverage for dwelling
                                      damage caused by water, including the cost of access to fix any leaking plumbing,
                                      system, or appliance.

                            (j)       In the alternative, any other construction of the language of the policy is void as against
                                      public policy;

                            (k)       In the alternative, should the Court find any ambiguity in the policy, the rules of
                                      construction of such policies mandates the construction and interpretation urged by
                                      Plaintiff(s);

                            (0        In the alternative, Defendant(s) (s) is/are judicially, administratively, or equitably
                                      estopped from denying Plaintiff(s)' construction of the policy coverage at issue;

                            (m)       In the alternative, to the extent that the wording of such policy does not reflect the true
                                      intent of all parties thereto, Plaintiff(s) plead(s) the doctrine of mutual mistake requiring
                                      reformation.

                            (n)       Such exclusion or interpretation is void as against public policy and/or in violation of
                                      the Texas Insurance Code.

                            (o)      The clear and ambiguous language of the policy provides coverage for dwelling damage
                                     caused by accidental water leakage from a plumbing, heating, or air conditioning system
                                     or other appliance, including the cost of access to fix the leaking system, regardless of
                                     any other language or exclusion in the policy.

                                                                         XVI.

                            Plaintiff asserts all statutory claims, demands, and causes of action assertable under state law

                   from the pleaded scenario and facts, but only seeks breach of contract and Chapter 542 of the Texas

                   Insurance Code causes of action against PROPERTY AND CASUALTY INSURANCE COMPANY

                   OF HARTFORD at this time for actual damages and attorney's fees Chapter 542 penalties. Plaintiff

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                     additional, exemplary, as well as all other damages and penalties available at law, including loss of the

                     use and enjoyment of the home. The above described acts, omissions, failures and conduct of

                     Defendant has caused Plaintiff damages, which include, without limitation, the cost to properly repair

                     Plaintiff's property and any investigative and engineering fees incurred in the claim. Plaintiff is also

                     entitled to recover consequential damages from Defendant's breach of contract. Plaintiff is also

                     entitled to recover the amount of Plaintiff's claim plus an 18% per annum penalty on that claim against

                     Defendant as damages under Section 542 of the Texas Insurance Code, plus prejudgment interest and

                     attorney's fees. In an effort to comply with Rule 47(c) of the Texas Rules of Civil Procedure, Plaintiff

                     seeks only monetary relief of $100,000.00 or less, including damages of any kind, penalties, costs,

                     expenses, pre judgment interest, and attorney fees. Furthermore, Plaintiffs' damages do not exceed

                     $75,000.

                                                                XVII. DEMAND FOR JURY


                          Pursuant to Rule 216 of the Texas Rules of Civil Procedure, Plaintiff herein request a jury trial.

                           WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully request this Honorable Court

                    that upon final hearing and trial hereof, this Honorable Court grant to the Plaintiff such relief as to which

                    he may show himself justly entitled, either at law or in equity, either general or special, including

                    judgment against the Defendant(s) for actual damages, attorney's fees, costs of suit, statutory penalties,

                    and prejudgment and post judgment interest, if allowed by law, and including judgment for additional

                    damages and punitive damages under the facts set forth in this or anyamended pleading.




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                              September 11, 2019                         10
                         JAMIE SMITH, DISTRICT CLERK
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                                                            Respectfully submitted,

                                                            FURLOW LAW FIRM, PLLC
                                                            1032 Central Parkway South
                                                            San Antonio Texas 78232
                                                            Telephone:    (210) 910.4501
                                                            Telecopier: (210) 910.4513


                                                            By:        /s/ Thomas M Furlow
                                                                       THOMAS M. FURLOW
                                                                       State Bar No. 00784093
                                                                       THOMAS HERNANDEZ
                                                                       State Bar No. 09516400
                                                                       Email: tfurlow@furlowlavvfirm.com
                                                                       ATTORNEYS FOR PLAINTIFF




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                                        PLAINTIFF'S REQUESTS FOR DISCLOSURE TO DEFENDANT

                            Pursuant to Texas Rule of Civil Procedure 194, you are hereby requested to disclose, within fifty

                    (50) days of service of this request, the information or material described in Rule 194.2(a)-(k), as

                    described below:

                            (a)        the correct names of the parties to the lawsuits;
                            (b)        the name, address, and telephone number of any potentialparties;
                            (c)        the legal theories and, in general, the factual basis of Plaintiff's claims;
                            (d)        the amount and any method of calculating economic damages;
                            (e)        the name, address and telephone number of persons having knowledge of relevant facts,
                                       and a brief statement of each identified person's connection with the case;
                            (f)        for any testifyingexpert:
                                       (1)     the expert's name, address and telephone number;
                                       (2)     the subject matter on which the expert will testify;
                                       (3)     the general substance of the expert's mental impressions and opinions and a
                                               brief summary of the basis of them, or if the expert is not retained by, employed,
                                               or otherwise subject to the control of Plaintiff, documents reflecting such
                                               information;
                                       (4)     if the expert is retained, employed by or otherwise subject to the control of
                                               Plaintiff:
                                               (A)      all documents, tangible things, reports, models, or data compilations that
                                                        have been provided to, reviewed by, or prepared by or for the expert in
                                                       anticipation of the expert's testimony;
                                               (B)      the expert's current resume and bibliography;
                            (g)        any indemnity or insuring agreements;
                            (h)        any settlement agreements, described in Rule 192.3(g);
                            (i)        any witness statements, described in Rule 192.3(h);
                            (j)        all medical records and bills that are reasonably related to the injuries or damages
                                       asserted or, in lieu thereof, an authorization permitting the disclosure of such medical
                                       records and bills;
                            (k)        all medical records and bills obtained by the responding partyby the responding partyby
                                       virtue of an authorization furnished by the requesting party.

                                                                           I.

                            In accordance with Texas Rule of Civil Procedure 194.3, please serve written responses

                    within fifty (50) days after service of this request.




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                                                                    II.

                          In compliance with Rule 194.4 of the Texas Rules of Civil Procedure, please produce
                   responsive documents to the Furlow Law Firm, PLLC 1032 Central Parkway South, San Antonio
                   Texas 78232.


                                                              Respectfully submitted,

                                                              FURLOW LAW FIRM, PLLC
                                                              1032 Central Parkway South
                                                              San Antonio Texas 78232
                                                              Telephone:    (210) 910.4501
                                                              Telecopier: (210) 910.4513




                                                              By:         /s/ Thomas M Furlow
                                                                          THOMAS M. FURLOW
                                                                          State Bar No. 00784093
                                                                          THOMAS HERNANDEZ
                                                                          State Bar. No. 09516400
                                                                          Email: tfurlow@furlowlawfirm.com
                                                                          ATTORNEYS FOR PLAINTIFF




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In accordance with Texas Government Code 51.301 electronically transmitted authenticated documents
are valid. If there is a question regarding the validity of this document and or seal please e-mail
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                                                                                                                                  CO204314- 00004
          Citation by Mailing

                                                             THE STATE OF TEXAS

                     No. E-0204314
                         GENE R MESSER
                     VS. PROPERTY AND CASUALTY INSURANCE COMPANY OF HARTFOR

                                                             CITATION BY MAILING

                                                       172nd JUDICIAL DISTRICT COURT
                                                        of JEFFERSON COUNTY, TEXAS

          To: PROPERTY AND CASUALTY INSURANCE COMPANY OF HARTFOR
             BY SERVING THROUGH ITS REG AGENT CT CORPORATION SYSTEM

          by serving at:
          1999 BRYAN STREET
          SUITE 900
          DALLAS, TX 75201 0000
                                                                                                                                   DEFENDANT:


          NOTICE:

                    You have been sued. You may employ an attorney. If you or your attorney do not file a written answer with the clerk who
          issued this citation by 10:00 a.m. on the Monday next following the expiration of twenty days after you were served this citation and
          petition, a default judgment may be taken against you. Said answer may be filed by mailing same to: District Clerk's Office, 1085
          Pearl, Room 203, Beaumont, TX 77701, (or if the case is designated as an E-file case, E-file through Lexis Nexis file and
          serve) or by bringing it to the office. The case is presently pending before the 172nd District Court of Jefferson County sitting in
          Beaumont, Texas, and was filed on the 20th day of August, 2019. It bears cause number E-0204314 and is styled:
                                                                                                                                          Plaintiff:
                              GENE R MESSER
                    VS.
                              PROPERTY AND CASUALTY INSURANCE COMPANY OF HARTFOR
                                                                                                                                       Defendant:

                     The name and address of the attorney for plaintiff (or plaintif if pro se) is:

                                          FURLOW, THOMAS M, Atty.
                                         9311 SAN PEDRO, SUITE 900
                                         SAN ANTONIO, TX 78216 4466
                The nature of the demands of said plaintiff is shown by a true and correct copy of Plaintiff's PETITION (PLAINTIFF'S
          ORIGINAL) DEMAND FOR JURY,AND WRITTEN DISCOVERY accompanying this citation and made a part thereof.

                     Issued under my hand and the seal of said court, at Beaumont, Texas, this the 20th day of August, 2019.

                                                                            JAMIE SMITH, DISTRICT CLERK
                                                                            JEFFERSON COUNTY, TEXAS




                                                                              Ely                              Deputy


                       I CERTIFY THIS IS A TRUE COPY
       .1EFF           Witness my Hand and Seal of Office
                                                                            Valencia
                                September 11, 2019
                        JAMIE SMITH, DISTRICT CLERK

„(6...,;a;........       JEFFERSON COUNTY ,TEXAS

                                               Page 1 of 2
             Case 1:19-cv-00423-MJT Document 1-3 Filed 09/13/19 Page 16 of 31 PageID #: 26
                                                            RETURN OF SERVICE
 E-0204314                    172nd JUDICIAL DISTRICT COURT
 GENE R MESSER
 PROPERTY AND CASUALTY INSURANCE COMPANY OF HARTFOR
 Executed when copy was delivered:
 This is a true copy of the original citation, was delivered to defendant                                           , on the       day of
                 , 20
                                                                                                                           , Officer
                                                                                                                       County, Texas
                                                                                         By:                                 , Deputy
 ADDRESS FOR SERVICE:
 PROPERTY AND CASUALTY INSURANCE COMPANY OF HARTFOR
 BY SERVING THROUGH ITS REG AGENT CT CORPORATION SYSTEM
 1999 BRYAN STREET
 SUITE 900
 DALLAS, TX 75201 0000
                                           OFFICER'S RETURN
 Came to hand on the           day of                      , 20     , at                 , o'clock   .m., and executed in
                            , County, Texas by delivering to each of the within named defendants in person, a true copy of this Citation
 with the date of delivery endorsed thereon, together with the accompanying copy of the Citation by Mailing at the following times and
 places, to-wit:
 Name                                   Date/Time                                Place, Course and Distance from Courthouse


 And not executed as to the defendant(s),
  The diligence used in finding said defendant(s) being:


 and the cause or failure to execute this process is:


 and the information received as to the whereabouts of said defendant(s) being:

 FEES:
 Serving Petition and Copy S
 Total                                                                                                             , Officer
                                                                                                             . County, Texas

                                                                               By:                                   , Deputy

                                                                               Affiant

          COMPLETE IF YOU ARE A PERSON OTHER THAN A SHERIFF, CONSTABLE, OR CLERK OF THE COURT.
 In accordance with Rule 107: The officer of authorized person who serves, or attempts to serve, a citation shall sign and return. The signature
 is not required to be verified. If the return is signed by a person other than a sheriff, constable or the clerk of the court, the return shall be
 signed under penalty of perjury and contain the following statement:
 "My name is                                                    , my date of birth is                          , and my address is
                     (First, Middle, Last)

 (Street, City, Zip)
 I DECLARE UNDER PENALTY OF PERJURY THAT THE FORGOING IS TRUE AND CORRECT.

 Executed in                           County, State of         , on the             day of


                                                                               Declarant/Authorized Process Server

              I CERTIFY THIS IS A TRUE COPY
 Wf.%
..... ..      Witness my Hand and Seal of Office                               (Id # expiration of certification)
                    September 11, 2019
               JAMIE SMITH, DISTRICT CLERK
                JEFFERSON COUNTY ,TEXAS
 ..; .....
                             Z.T..4:t54 page 2 of 2
                       Case 1:19-cv-00423-MJT Document 1-3 Filed 09/13/19 Page 17 of 31 PageID #: 27




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                                    JEFFERSON COUN- Y.rexAs




Certified Document Number: 2107047 Total Pages: 2




In accordance with Texas Government Code 51.301 electronically transmitted authenticated documents
are valid. If there is a question regarding the validity of this document and or seal please e-mail
districtclerlirceco.jefferson.tx.us
           Case 1:19-cv-00423-MJT Document 1-3 Filed 09/13/19 Page 18 of FILED
                                                                         31 PageID #: 28
                                                                                               DISTRICT CLERK OF
                                                                                               JEFFERSON CO TEXAS
            ggON                                      JAMIE SMITH                              8/20/2019 12:09 PM
                                                                                               JAMIE SMITH
                      ea
                                          JEFFERSON COUNTY DISTRICT CLERK                      DISTRICT CLERK
                                  1085 PEARL STREET, ROOM 203, BEAUMONT,TX 777eago4314

                                                         REQUEST FOR PROCESS
                                  All sections must be completed for processing this request.
      Section 1:
           mr=4 Nn.                                                               Date    8/20/19
      Style:
      Gene R. Messer
      VS
      Property and Casualty Insurance Company of Hartford

      Section 2:
      Check Process Type:
      12f Citation         o Precept to Serve / Notice of Hearing/Notice to Show Cause
      o Temporary Restraining Order
      o Application for Protective Order /Temporary (Ex Parte) Protective Order
      D Notice of Registration of Foreign Judgment D Citation by Posting

      D Writ of                                     o Other
      o Citation by Publication*- Newspaper:
      triMirMx if you would like the District Clerk's Office to make copies for your service. ($1.00 per page
       per pleading for copies for service)


      Section 3:
      Title of Document/Pleading to be attached for service: Plaintiffs Original Petition,
      Demand for Jury, and Written Discovery

                             Note: You must furnish one copy of the document/pleading for each party served.


           PARTIES TO BE SERVED (Please type or print):
      Section 4:

      1.Name: Property and Casualty Insurance Company of Hartford Through CT Corporation System

          Address: 1999 Bryant Street, Ste. 900
                                                                          Texas                            75201
          City: Dallas                                           State:                             Zip:
      2.Name:

          Address:
          City:                                                  State:                             Zip:


              I CERTIFY THIS IS A TRUE COPY
              Witness my Hand and Seal of Office

                     September 11, 2019
               JAMIE SMITH, DISTRICT CLERK
                JEFFERSON COUNTY ,TEXAS
<04                          .(;:." 44-15.6 Page 1of 2
                         Case 1:19-cv-00423-MJT Document 1-3 Filed 09/13/19 Page 19 of 31 PageID #: 29

                   3. Name:

                        Address:

                        City:                                                        State:                       Zip:
                   4. Name:

                        Address:
                        City:                                                     State:                          Zip:
                   5. Name:
                        Address:
                        City:                                                     State:                          Zip:
                   Section 5

                   Check Service Type:
                   D           No Service                                       0        Secretary of State
                   ❑           Sheriff                                          0        Commissioner of Insurance
                   Ei          Constable Pct.                                   0        Out of County
                   ❑           Out of State                                     El        Private Process     ❑ Other
                   Ki          Certified Mail
                   Section 6 (ONLY if Section 7 does not apply)

                   Attorney Name: Thomas M. Furlow
                   Address: 1032 Central Parkway S.
                                                                                Street/P.O. aox
                                   San Antonio                                            Texas                   78232
                                                           city                                      1-•



                                                                                                              00784093
                   Attorney's Telephone No. 210-910-4501                                 Attorney's Bar No.
                   Section ( 'ONLY if Section 6 does not apply)

                   Pro-Se Name:

                   Address:                                                                - 7




                                                           City                                   State                   Zip


                   Telephone No.
                   Section 8

                   Check Delivery Type:
                   0     Hold for pick up                         Mail to Attorney
                           I CERTIFY THIS IS A TRUE COPY
                           Witness my Hand and Seal of Office

                                  September 11, 2019
                            JAMIE SMITH, DISTRICT CLERK
                             JEFFERSON COUNTY ,TEXAS
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                       Case 1:19-cv-00423-MJT Document 1-3 Filed 09/13/19 Page 20 of 31 PageID #: 30




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                                    JEFFERSON COUN- Y.rexAs




Certified Document Number: 2107032 Total Pages: 2




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districtclerlirceco.jefferson.tx.us
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                  Case 1:19-cv-00423-MJT Document 1-3 Filed 09/13/19 Page 21 of 31 PageID #: 31
                                                                                                           ERN IIIWEtypipi!
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       Citation by Mailing

                                                           THE STATE OF TEXAS

                  No. E-0204314
                      GENE R MESSER
                  VS. PROPERTY AND CASUALTY INSURANCE COMPANY OF HARTFOR

                                                           CITATION :BY MAILING

                                                     172nd JUDICIAL DISTRICT COURT
                                                      of JEFFERSON COUNTY, TEXAS

       To: PROPERTY AND CASUALTY INSURANCE COMPANY OF HARTFOR
           BY SERVING THROUGH ITS REG AGENT CT CORPORATION SYSTEM

       by serving at:
       1999 BRYAN STREET
       SUITE 900
       DALLAS, TX 75201 0000
                                                                                                                               DEFENDANT:

                                                                              Xif
       NOTICE:

                 You have been sued. ou may empldyan attorney. If you or you4ttornej,'dot,ndefile a writtianswer with the clerk who
       issued this citation by 10:00 .m. 'dn the Moyday nextfoOwiug the exp `titi of twentj, *ys after you here served this citation and
       petition, a default judgmen ay be,takenatainst,Y062 SaWanswer ma             filed bripailinisame,to: District Clerk's Office, 1085
       Pearl, Room 203, Beaumd t, IX 77701,/(orythe case,IsAllesignated `""arf'E-fkoase, E-file throughtexis Nexis file and
       serve) or by bringing it to the„office. The irat p,presently pending before the 172nd District Court ofdefferson County sitting in
       Beaumont, Texas, and was filed on the 20th day of.August, 2019. kbears cause nunthe ' 204314 and is styled:
                                                                                                                                      Plaintiff:
                           GENE R MESSEi
                 VS.
                           PROPERTY AND C             ,LiYINSU           eCOMPANY
                                                                                                                                   licfendant:

             The name and addresS of the attom y foi4plaintiff (or plaintiff, if pro Se)
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                                       9311 SAN PEDRO,             E9,00. '
                                       SAN ANIONIO, TX             ii6"44660
             The nature of the demands of said plaintiff is shown bY a true'and correct copy of Plaintiff s PETITION (PLAINTIFFS
       ORIGINAL) DEMAND FOR JURY,AND WRITTEN ILISCOVERYioeornpanying this citation and made a part thereof

                  Issued under my hand and the seal of said
                                                                                        k
                                                              court,;at geaurnoni, Tents, this the 20th day of August, 2019.
                                                                         JAMIE SMITI-bDISTRIeT CLERK
                                                                         JEFFEkSdisLCOUNTY, TEXAS




                                                                           BY
                                                                                    a   uto'   vAttremp.—..0
                                                                                                               Deputy

                    I CERTIFY THIS IS A TRUE COPY
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                             September 11, 2019
                     JAMIE SMITH, DISTRICT CLERK
                      JEFFERSON COUNTY ,TEXAS
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                            Case 1:19-cv-00423-MJT Document 1-3 Filed 09/13/19 Page 22 of 31 PageID #: 32
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                                                                                  RETURN OF SERVICE
         E-0204314                                   172nd JUDICIAL DISTRICT COURT
         GENE R MESSER
         PROPERTY AND CASUALTY INSURANCE COMPANY OF HARTFOR
         Executed when copy was delivered:                                                                                          c   o-i N ,,,,,.. 41
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                                                                                                            By:                                      Deputy
         ADDRESS FOR SERVICE:
         PROPERTY AND CASUALTY INSURANCE COMPANY OF HARTFOR
         BY SERVING THROUGH ITS REG AGENT CT CORPORATION SYSTEM
         1999 BRYAN STREET
         SUITE 900
         DALLAS, TX 75201 0000
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           ith the date of delivery endorsed thereon, together with the accompanying copy of the Citation by Mailing at the following times and
         places, to-wit:
          '        e                                              Date/Time                            Place Course and Distance from Courthouse

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         An not exec ed as to the e endant(s),                                                                                                   ?5201
         The diligence usAd in findinl. said defendant(s) being:
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         and the cause or failure to execute this process is:


         and the information received as to the whereabouts of said defendant(s) being:

  FEES:
  Serving Petition and Copy $ 10
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                                                                                                 0                                , County, Texas
                                                                                                  By: D. ICithrErir                        , Deputy

                                                                                                  Affiant

                  COMPLETE IF YOU ARE A PERSON OTHER THAN A SHERIFF, CONSTABLE, OR CLERK OF THE COURT.
         In accordance with Rule 107: The officer of authorized person who serves, or attempts to serve, a citation shall sign and return. The signature
         is not required to be verified. If the return is signed by a person other than a sheriff, constable or the clerk of the court, the return shall be
         signed under penalty of perjury and contain the following statement:
         "My name is                                                     my date of birth is                           , and my address is
                             (First, Middle, Last)
                                                                                                                                                               •
         (Street, City, Zip)
         I DECLARE UNDER PENALTY OF PERJURY THAT THE FORGOING IS TRUE AND CORRECT.

         Executed in                                      , County, State of         , on the           day of                               .


                                                                                                  Declarant/Authorized Process Server
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                                      September 11, 2019
                              JAMIE SMITH, DISTRICT CLERK
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                               JEFFERSON COUNTY ,TEXAS
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     JAMIE SMITH
     DISTRICT CLERICS OFFICE
     1085 PEARL ST RM 203
     BEAUMONT, TX 77701-3545




     RETURN RECEIPT (ELECTRONIC)
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                Case 1:19-cv-00423-MJT Document 1-3 Filed 09/13/19 Page 23 of 31 PageID #: 33



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     PROPERTY AND CASUALTY INSURANCE COMPANY OF
     HARTFORD
     BY SERVING ITS REGISTERED AGENT CT CORPORATION
     SYSTEM
     1999 BRYAN ST STE 900
     DALLAS, TX 75201-3140




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                                            Page 3 of 4
                  Case 1:19-cv-00423-MJT Document 1-3 Filed 09/13/19 Page 24 of 31 PageID #: 34
                       UNITED STATES
            P.:1111111 POSTAL SERVICE:




            Date Produced: 08/27/2019

            THE MAIL GROUP INC - 1 / CONFIRM DELIVERY INC:

            The following is the delivery information for Certified MailTM/RRE item number 9214 8901 0661 5400
            0141 6400 93. Our records indicate that this item was delivered on 08/26/2019 at 09:50 a.m. in DALLAS,
            TX 75201. The scanned image 21ti-LiwgIgigU,agartalqkca,i,5,111i- WM al4pAi.

            Signature of Recipient :




            Address of Recipient :                  1,
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            Thank you for selecting the Postal Service for your mailing needs. If you require additional assistance,
            please contact your local post office or Postal Service representative.

            Sincerely,
            United States Postal Service

            The customer reference number shown below is not validated or endorsed by the United States Postal
            Service. It is solely for customer use.




            The customer reference information shown below is not validated or endorsed by the
            United States Postal Service. It is solely for customer use.


                                                             Reference ID: 92148901066154000141640093

                                                             PROPERTY AND CASUALTY INSURANCE COMPANY OF
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                                                             BY SERVING ITS REGISTERED AGENT CT CORPORATION
                                                             SYSTEM
                                                             1999 Bryan St Ste 900
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                         September 11, 2019
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                     JEFFERSON COUNTY ,TEXAS

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                       Case 1:19-cv-00423-MJT Document 1-3 Filed 09/13/19 Page 25 of 31 PageID #: 35




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Certified Document Number: 2110871 Total Pages: 4




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              Case 1:19-cv-00423-MJT Document 1-3 Filed 09/13/19 Page 26 of FILED
                                                                            31 PageID #: 36
                                                              CIVIL CASE INFORMATION SHEET                                                   DISTRICT CLERK OF
                                                                                                                                             JEFFERSON CO TEXAS
             CAUSE NUMRER (FOR CLERK USE ONLY):                                                        COURT (FUR CLERK USE ON! )98/20/2ats4240.21A____
               STYLED Gene Messer v Property and Casualty Insurance of Hartford                                                              JAMIE SMITH
                             (e.g., John Smith v. All American hisunmee Co; In re Mary Ann Joces; ht the Matter of the Estate of George JacksDISTRICT CLERK
    A civil case information sheet must be completed and subtnitted when an original petition or application is filed to initiate a new cEi420431 fiw, probate, or mental
    health case or when a post-judgment petition for modification or motion for enforcement is filed in a family law case. The information should be the best available at
    the time of tiling.
  I. Contact information for person completing ease information sheet:               Names of parties in ease:                                  Person or entity completing sheet is:
                                                                                                                                                  homey for Plaintiff/Petitioner
  Name:                                     Email:                                   Plaintiff(s)/Petitioner(s):                             11Pro Se Plaintiff/Petitioner
                                                                                                                                                Title IV-D Agency
    Thomas M. Furlow                     tfurlow@furlowlawfirm.com                    Gene Messer                                            lo ather:
                                                                                                                                             ['

  Address:                                  Telephone:
                                                                                                                                             Additional Parties in Child Simport Case:
  1032 Central Parkway South                       210-910-4501
                                                                                     Defendant(s)/Respondent(s):                             Custodial Parent:
4 City/State/Zip:                           Fax:
                                                                                     Property and Casualty                                              -
    SA, TX 78232                               210-910-4513                                                                                  Non-Custodial Parent:
                                                                                      Insurance of Hartford
  Signetge.:-                               State Bar No:
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  2. Indicate case type, or Identify tile most _lporhirt
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                                                   Civil                                                                                         Family Law
                                                                                                                                                         Post-judgment Actions
               Contract                      Injury or Damn e                    Real Property                         Marriage Re!atio)/94).                    (non-TiOe IV-D)
  Debt/Contract                        ['Assault/Battery                   DErninent Domain/                          °Annulment                         °Enfbreement
    ligji Consumer/DTPA                El Construction                        Condemnation                            DDeclare Marriage Void              0Modification—Custody
    DDebt/Contract                     II Defamation                       °Partition                                 Divorce                            Olvlodification—Other
    D Fraud/Misrepresentation          Malpractice                         • Quiet Title                                 III With Children                       Title IV-Ill
    I Other Debt/Contract:                (Accounting                      °Trespass to Try Title                       0No Children                     ❑
                                                                                                                                                         °Enforcement/Modification
                                          °Legal                           ['Other Property:                                                             • Paternity
  Foreclosure                             ['Medical                                                                                                      °Reciprocals (DIFSA)
     °Home Equity- --Expedited            EjOther Professional                                                                                           °Support Order
     °Other Foreclosure                      Liability:
  ['Franchise                                                                  Related In Criminal
  °Insurance                          El motor vehicle Accident                      Matters                             Other Family 1.:w                    Parent-Chikl Relationship
  °Landlord/Tenant                    Ell Premises                         ['Expunction                               DEnforee Foreign                       II Adoption/Adoption with
  °Non-Competition                    Product Liability                    DJudgment Nisi                                Judgment                              Termination
  °Partnership                          °Asbestos/Silica                   °Non-Diaelosure                            ['Habeas Corpus                       0Child Protection
  °Other Contract:                      ['Other Product Liability          • Seizure/Forfeiture                       OName Change                          • Child Support
                                             List Product:                 ❑°Writ of Habeas Corpus—                   °Protective Order                     ['Custody or Visitation
                                                                              Pre-indictment                          °Removal of Disabilities              DGestational Parenting
                                       °Other Injury or Damage:            Dottier:                                      of Minority                        EiGrat tdpurent Atzess
                                                                                                                      DOther:                               0 l'arentage/Paternity
                                                                                                                                                            FiTerrnination of Parental
             Employment                                           Other Civil                                                                                   Rights
                                                                                                                -1                                          °Other Parent-Child:
  III Discrimination                    DAdministrative Appeal            °Lawyer Discipline
  °Retaliation                          DAntitrust/Unfair                 °Perpetuate Testimony
  DTermination                             Competition                     Dsecurities/Stock
  DWorkers' Compensation                ['Code Violations                  0 Tortious Interference
  DOthes Employment:                    ['Foreign Judgment                 °Other:
                                        DIntellectual Property
                                                   =                      ,..._-._                                                                             -- .
               Fax                                                                            Probate & Moffatt-lead:

r   °Tax Appraisal
    °Tax Delinquency
    DOther Tax
                                        Probate/Wills/Intestate Administration
                                           E Dependent Administration
                                          El Independent Administration
                                                                                                        °Guardianship —Adult
                                                                                                        II Guardianship--Minor
                                                                                                        °Mental Health
                                           0 Other Estate Proceedings                                   I:Other:

  3. Indicate procedure or remedy if applicable (may select »tore than 1):
     °Appeal from Municipal or Justice Court                   ['Declaratory Judgment                              °Prejudgment Remedy
     0 Arbitration-related                                     °Garnishment                                        II Protective Order
     °Attachment                                                ninterpleader                                      S Receiver
     °Bill of Review                                            °License                                           ['Sequestration
     OCertiorari                                                • Mandamus                                         °Tempornry Restraining Order/Injunction
              Action                                            0Post-judgment
...._°Class
      _                                                                                                            DTurnover
  4. bulleate damages songht (du trot select ifit is a fret ily law case):
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                       Case 1:19-cv-00423-MJT Document 1-3 Filed 09/13/19 Page 27 of 31 PageID #: 37




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  Cause No: E-0204314         Date: 8/20/19          Receipt No:                            456742
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         vs PROPERTY AND CASUALTY INSURANCE COMPANY OF HARTFOR

      Paid By: FURLOW, THOMAS M                                                         P
      Amt Paid:      398.00 EFILE036111404-0                      Bal Due:

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E.FLE: 80119TOCURRENT                                 CIVIL DOCKET,DISTRICTCOURT                                    CASENO, E-0244314-


NUMBER OF CASE                     NAMES OF PARTIES                        ATTORNEYS                     KIND OF ACTION        DATE OF FILING
                  MESSER, G R                                                                           CONSUMER/COMMERCIAL       8/20/2019
                                                                                MAN, THOMAS m RFT
   E-0204314-     VS                                                                                     DISPOSITIONDATE      JURYFEE DATE
                                                                           ATTORNEY AT THIS TIME DEFT
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